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DISTRICT OF DELAWARE
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      23-11452

      Hartman SPE, LLC




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      Case Title :                      Hartman SPE, LLC
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